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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLORADO

CASE NO. 19-cr-00488-RM

UNITED STATES OF AMERICA,
Plaintiff,

Vv.

RICHARD HOLZER,

Defendant.

 

STATEMENT BY DEFENDANT IN ADVANCE OF PLEA OF GUILTY

 

1 acknowledge and certify that I have been advised of and understand the following facts
and rights, that all representations contained in this document are true and correct, and that my
attorney has assisted me as I have reviewed and completed this document.

1. The nature of the charge(s) against me has/have been explained to me by my
attorney. I have had an opportunity to discuss with my attorney both the nature of the charge(s)
and the elements which the government is required to prove.

2. I know that when the Court sentences me, the Court will consider many factors.
These factors are listed in 18 U.S.C. § 3553 and include (a) the nature and circumstances of the
offense and my personal history and characteristics, (b) the need for a sentence to reflect the
seriousness of the offense, promote respect for the law, provide just punishment, afford deterrence,
protect the public, and provide me with needed training, care or correctional treatment in the most
effective manner, (c) the kinds of sentences available to the court, (d) the advisory sentencing
guidelines established by the U.S. Sentencing Commission, (e) the pertinent policy statements of

the U.S. Sentencing Commission, (f) the need to avoid unwarranted sentence disparity among

Court’s Exhibit

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defendants with similar records who have been found guilty of similar conduct, and (g) the need
to provide restitution. No single factor is controlling or determinative. I recognize that it is possible
that the Court could, after considering these factors, impose any sentence in my case, including
one which is as severe as the maximum term of imprisonment, the maximum fine, full restitution
Gif applicable), the maximum term of supervised release, and a special assessment, all as set out in

patagraph 3 below.

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3. I know that the following penalties may be imposed as a result of my guilty plea(s):

Count 1 of the Indictment, charging a violation of 18 U.S.C. § 247(a)(2) and
(d)(3), Attempt to Obstruct Persons in the Enjoyment of Their Free Exercise
of Religious Beliefs Through Force and Use of Explosives and Fire.

a.

b.

e.

Imprisonment for a term of not more than 20 years;

A term of supervised release of not more than 3 years, pursuant to 18
ULS.C, § 3583;

A fine of not more than $250,000.00, pursuant to the statute that I admit |
violated and/or the alternative fine schedule set out at 18 U.S.C. § 3571;

Restitution to the victim(s) of my crime(s) of not more than $N/A,
pursuant to 18 U.S.C. §§ 3663, 3663A, and 3664;

A special assessment of $100.00, pursuant to 18 U.S.C. § 3013.

Count 2 of the Indictment, charging a violation of 18 U.S.C. § 844(i), Attempt
to Maliciously Damage and Destroy, by Means of Fire and Explosives, a
Building Used in Interstate Commerce.

a. Imprisonment for a term of not more than 20 years not less than 5 years;

b, A term of supervised release of not more than a lifetime, pursuant to 18
U.S.C. § 3583;

C. A fine of not more than $100,000.00, pursuant to the statute that I admit I
violated and/or the alternative fine schedule set out at 18 U.S.C. § 3571;

d. Restitution to the victim(s) of my crime(s) of not more than $N/A,
pursuant to 18 U.S.C. §§ 3663, 3663A, and 3664;

é. A special assessment of $100.00, pursuant to 18 U.S.C. § 3013.

4, I know that if 1 am convicted of more than one count, the sentences imposed may

be either concurrent (served at the same time) or consecutive (served separately or back-to-back)

unless the statutory penalty for an offense of conviction expressly requires that a sentence be

imposed to run consecutively,
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5. ] know that in addition to any punishment that the Court may impose, there are
collateral consequences to pleading guilty to a crime. These consequences are neither imposed
nor controlled by the Court. For example, pleading guilty may result in a loss of civil rights,
including but not limited to the rights to possess firearms, vote, hold elected office, and sit on a
jury. And, if 1 am not a citizen of the United States, these consequences may include deportation
from the United States or indefinite confinement if there is no country to which I may be deported,
denial of the right to enter the United States in the future, and denial of citizenship.

6. I know that if ] am given a term of supervised release as a part of my sentence, that
supervised telease will only begin to run upon my release from custody on all terms of
imprisonment imposed by this and any other courts. I understand that any violation of the
conditions of that supervised release during its term may lead to an additional prison sentence and
additional supervised release being imposed.

7, ] know that there is no parole in the federal system and that I will be required to
serve the entire sentence of imprisonment which may be imposed in my case, reduced only by
such good time and/or program allowances as may be set by Congress and applied by the Bureau
of Prisons.

8. I know that if a fine or restitution is imposed as a part of my sentence, I will be
required to pay interest on any amount in excess of $2,500, unless the fine or restitution is paid in
full before the fifteenth day after the date of the judgment or unless interest is waived by the Court.

9, 1 know that if a fine or restitution is imposed as a part of my sentence, I will be
required to pay it in a timely manner. Failure to do so may trigger monetary penalties, collection
efforts by the government, potential revocation of any probation or supervised release, and/or

exposure to prosecution for “Criminal Default” under 18 U.S.C. § 3615.

 

 
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10. [know that I can be represented by an attorney at every stage of the proceedings in
this matter, and I know that, if I cannot afford an attorney, one will be appointed to represent me
at no cost or expense to me.

11. ‘I know that I have a right to plead “not guilty;” and I know that if 1 do plead “not
guilty,” I can persist in that plea and demand a trial.

12, [ know that I have a right to and can demand a trial by jury, and I know that if I

choose to stand trial:

a. I have a right to the assistance of an attorney at every stage of the
proceeding;

b. I have a right to see and observe the witnesses who testify against me;

c. My attorney can cross-examine all witnesses who testify against me;

d. I can call and present such relevant witnesses and evidence as I desire, and
I can obtain subpoenas to require the attendance and testimony of those
witnesses;

e. If I cannot afford to pay witness fees and expenses, the government will

pay those fees and expenses, including mileage and travel expenses, and
including reasonable fees charged by expert witnesses;

f, I cannot be forced to incriminate myself and I do not have to testify at any
trial;
g. However, | can testify at my trial if | choose to, and J do not have to

decide whether or not to testify until after [ have heard the government’s
evidence against me;

h, If I decide that T do not want to testify at trial, the jury will be told that no
guilt or inference adverse to me may be drawn from my decision not to
testify;

i. In order for me to be convicted, the government must prove each and
every element of the offense(s) with which I am charged, beyond a
reasonable doubt;

j- In order for me to be convicted, the jury must reach a unanimous verdict
of guilty, meaning all jurors must agree that I am guilty; and
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k, If I were to be convicted, I could appeal both my conviction and whatever
sentence the Court later imposed, and if I could not afford an appeal, the
government would pay the cost of the appeal, including the cost of an
appointed attorney.

13. I know that if I plead guilty, there will not be a trial of any kind.

14. 1 know that if ] plead guilty, there will be no appellate review of the question of

 

whether or not I am guilt of the offense(s) to which I have pled guilty.
15. | [I know that the terms of my plea agreement with the government contain a waiver |

of my right to appeal or to collaterally attack the sentence. Specifically, 1 have agreed to waive my

appeal under the conditions set forth in the Plea Agreement. Because of this, I know that I cannot

seck appellate review of the sentence imposed by the Court in this case, except in the limited

circumstances, if any, permitted by my plea agreement.

 

16. No agreements have been reached and no representations have been made to me as
to what the sentence in this case will be, except those which are explicitly detailed in the document | !
entitled “Plea Agreement” which I and the government have signed. | further understand that any
sentencing agreements and stipulations in the document entitled “Plea Agreement” are binding on
the Court only tf the parties ask the Court in that document to be so bound pursuant to Rule
11(c)(1)(C) and only if the Court agrees to be so bound when it accepts my guilty plea(s).

17. The only plea agreement which has been entered into with the government is that
which is set out in the document entitled “Plea Agreement” which has been signed by the
government and me and which I incorporate herein by reference.

18. I understand that the Court will make no decision as to what my sentence will be
until a Presentence Report has been prepared by the Probation Department and received and

reviewed by the Court.
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19. [know that when I enter my plea(s) of guilty, the Court may ask me questions under
oath about the offense(s) to which I am pleading guilty. Such questions, if asked of me on the
record and in the presence of my attorney, must be answered by me, and if ] give false answers, I
can be prosecuted for perjury.

20. [know that I have the right to ask the Court any questions that I have concerning
my rights, these proceedings, and my plea(s) to the charge(s).

21. Tam 2 2 years of age. My education consists of Sade calle. {(can))
[cannot] understand the English language, (Circle either “can” or “cannot.”) [ am not taking any
medications which interfere with my ability to understand the proceedings in this matter or which
impact or affect my ability to choose whether to plead guilty.

22. Other than the promises of the government set out in the document entitled “Plea
Agreement,” no promises and no threats of any sort have been made to me by anyone to induce
me or to persuade me to enter my plea(s) in this case.

23. No one has promised me that I will receive probation, home confinement or any
other specific sentence desired by me because of my plea(s) of guilty.

24. I have had sufficient opportunity to discuss this case and my intended plea(s) of
guilty with my attorney. I do not wish to consult with my attorney any further before I enter my
plea(s) of guilty.

25. am satisfied with my attorney. I believe that I have been represented effectively
and competently in this case.

26. My decision to enter the plea(s) of guilty is made after full and careful thought,
with the advice of my attorney, and with full understanding of my rights, the facts and

circumstances of the case, and the potential consequences of my plea(s) of guilty. [ was not under
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the influence of any drugs, medication, or intoxicants which affect my decision-making ability
when J made the decision to enter my guilty plea(s), I am not now under the influence of any such
drugs, medication or intoxicants.

27, I want to plead guilty and have no mental reservations about my decision.

28. Insofar as it shows my conduct, the summary of facts set out in the document
entitled “Plea Agreement” is true and correct, except as I have indicated in that document.

29, I know that I am free to change or delete anything contained in this document and
that I am free to list my objections and my disagreements with anything contained in the document

entitled “Plea Agreement,” I accept both documents as they are currently drafted.

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30. I wish to plead guilty to the following charge(s):

Count 1 of the Indictment, charging a violation of 18 U.S.C. §
247(a)(2) and (d)(3), Attempt to Obstruct Persons in the Enjoyment of
Their Free Exercise of Religious Beliefs Through Force and Use of
Explosives and Fire; and

Count 2 of the Indictment, charging a violation of 18 U.S.C. § 844(i), Attempt
to Maliciously Damage and Destroy, by Means of Fire and Explosives, a
Building Used in Interstate Commerce.

Dated this | go day of © ft ti } 6 C IC,

 

 

Cc D HOLZER
Defendant

I certify that I have discussed this statement and the document entitled “Plea Agreement” with
the defendant. I certify that I have fully explained the defendant’s rights to him or her and have
assisted him or her in completing this form. I believe that the defendant understands his or her

rights and these statements.

Dated this (S dayot Octobe G —_, 2020.

 

 

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MA 'BUTTERTON
y for Defendant

OLAS

Se KRAUT
Attorney for Defendant
